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|N THE UN|TED STATES D|STR|CT COURT
FOR THE l\/l|DDLE DlSTR|CT OF PENNSYLVAN\A

F|LED

 

 

 

MARY BRuLo, ,- SCRANTON
P|aintiff, JUL 0 9 wl
V. :(Judge Conaboy) d 201‘5
DEPARTl\/IENT STORES NAT|ONAL BANK Pef C':D_\`
; 3: 13-cv~492 DEPUTY CLEHK
Defendant.
ORDER

 

BECAUSE the Defendant, has filed a |‘\/lotion to Compe| Arbitration in this matter (Doc.lO); and

BECAUSE, counsel for the Plaintiff, has notified the Court (Doc. 13), that Plaintiff, Will not
oppose this motion, the following Order is entered:

1. The Defendant's l\/lotion to Stay and Compe| Arbitration (Doc. 10), is Granted.

2. This matter is stayed pending the resolution of her claims in arbitration.

3. The Clerk of Court is directed to close this matter for statistical purposes, Without prejudice

to either party, to the right to reopen this matter if deemed necessary.

BY THE COURT:

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Richard P. Conaboy
United States District Judge

Date: July 3, 2018

 

